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                             Exhibit 6
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  IP Proxy Networks Market
       Global IP Proxy Networks Market




                                                                                              July 2019
IPPN                                                                                                  1
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IPPN                                                                                                       2
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                             Executive Summary




IPPN                                                                                         3
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  Key Findings

   •   Websites increasingly change their displayed information based on user IP address, location, and
       demographic attributes. This creates a need for companies to do competitor analysis, price
       comparisons, and data extraction as a simulated user to capture this customized information.
       Companies not familiar with these website practices or Internet Protocol proxy network (IPPN)
       solutions are at risk of gathering incorrect data and left behind technology-wise.
   •   Frost & Sullivan estimates the Total Addressable Market (TAM) for IPPNs in 2018 to be $951.0
       million, the Service Available Market (SAM) to be $358.9 million, and the Service Obtainable Market
       (SOM) to be $76.3 million. $76.3 million is the combined revenue from market participants in 2018.
       This IPPN market is forecasted to grow at a CAGR of 16.8% and reach $259.7 million by 2025.
   •   This global IPPN market study includes revenues from residential IP proxy networks, data center IP
       proxy networks, and mobile IP proxy networks. Use cases include: price comparison, ad verification,
       data collection, fraud protection, application performance, brand protection, talent sourcing, cyber
       security, and account management.
   •   EMEA makes up 39.5% of revenues for the IPPN market in 2018, followed by NALA at 35.4%, and
       APAC at 27.7%. By 2025, NALA‟s 37.9% market share overtakes EMEA‟s 34.4% of IPPN market.
       Thanks to demographic trends and an increasing number of its residents developing online
       presences, APAC has fastest overall CAGR at 18.7% growing to a 27.7% market share by 2025.
   •   Market leader Luminati, which practically invented the category, and competitors Oxylabs and
       GeoSurf, make up 77.0% of the global IPPN market in 2018 with significant potential to grow as
       IPPN solutions become more well-known.                                                      Source: Frost & Sullivan


IPPN                                                                                                                          4
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  IPPN TAM, SAM, and SOM

   Key Takeaway: With a 2018 SOM of $76.3 M obtained by the Frost & Sullivan forecasting method,
   coupled with a SAM of $358.9 M and a TAM of $951.0 M, the IPPN market is still in its early phases
      with tremendous potential for growth as more enterprises become aware of its advantages.

                         Total IPPN Market: TAM, SAM, and SOM, Global, 2018


                                                        IPPN Total Addressable Market (TAM)
                                                        Number of companies, globally, applicable to
                     IPPN TAM                           market use cases multiplied by average selling
                      $951.0 M                          price (ASP).


                                                        IPPN Service Available Market (SAM)
                                                        In-House IPPN Use based on data center IP
                      IPPN SAM                          address allocation combined with revenue from
                       $358.9 M                         dedicated solution providers.


                                                        IPPN Service Obtainable Market (SOM)
                          IPPN                          Revenue from dedicated IPPN solution providers,
                          SOM                           such as Luminati, Oxylabs, and GeoSurf.
                         $76.3 M
                                                                                              Source: Frost & Sullivan


IPPN                                                                                                                     5
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   Market Engineering Measurements

                                  Total IPPN Market: Market Engineering Measurements, Global, 2018
  Market Overview
                                          Market Revenue,                  Market Size for                   Base Year                          Compound
         Market Stage                     Service Obtainable               Last Year of                      Market Growth                      Annual Growth
                                          Market (SOM)                     Study Period                      Rate                               Rate



          Growth                         $76.3 M                       $259.7 M                            34.3%                                  16.8%

                                                (2018)                        (2025)                            (2019)1                      (CAGR, 2019–2025)



                                            Degree of                                                        Service                            Total
         Customer Price                                                   Market
                                            Technical                                                        Addressable                        Addressable
         Sensitivity                                                      Concentration
                                            Change                                                           Market (SAM)                       Market (TAM)


            8                                  7                         77.0%                          $358.9 M                           $951.0 M

                                                                      (Base Year Market Share
   (scale:1 [low] to 10 [high])       (scale:1 [low] to 10 [high])   Held by Top 3 Companies)2                  (2018)3                             (2018)

   1. Early stage market slowing from explosive growth. 2. Concentration decreasing because of new entrants. 3. Assumes education and marketing by major vendors.


 Decreasing               Stable          Increasing                                                                For a tabular version, click here.
                                                                                        Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                     6
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  IPPN Market Opportunity

    Key Takeaway: Though Frost & Sullivan forecasts a market size of $259.7 M by 2025, there is an opportunity to
   convert existing home grown IPPN solutions. Assuming IPPN vendors convert 80% of home grown IPPN solutions
      by 2025 via accelerated marketing and consumer education, that increases the expected market to $341.7 M.
              This achieves a third of the Total Addressable Market in the first 10 years of IPPN existence.

                                                Total IPPN Market: Revenue Opportunity, Global, 2018–2025
                                                       CAGR, 2019–2025 = 16.8% (SOM) / 20.1% (SAM)
                                                   1200.0                                                                                           60.0

                                                   1000.0                                                                                           50.0
       Revenue ($ Million)




                                                                                                                                                           Growth Rate (%)
                                                    800.0                                                                                           40.0

                                                    600.0                                                                                           30.0

                                                    400.0                                                                                           20.0

                                                    200.0                                                                                           10.0

                                                      0.0                                                                                           0.0
                                                              2018    2019    2020    2021      2022           2023         2024         2025
                             Revenue Forecast (SOM)           76.3    102.5   128.7   154.9    181.1           207.3       233.5         259.7
                             Revenue Forecast (SAM)           76.3    113.8   143.0   173.3    205.8           241.2       284.7         341.7
                             Total Addressable Market (TAM)   951.0   960.5   970.1   979.8    989.6           999.5       1009.5       1019.6
                             Growth Rate (SOM)                         34.3    25.6   20.4      16.9           14.5         12.6         11.2
                             Growth Rate (SAM)                         49.2    25.7   21.2      18.8           17.2         18.0         20.0
                                                                                           Year
                                                                                      Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                         7
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  CEO’s Perspective

           The global IPPN market is nascent, but growing at
           a 16.8% CAGR from 2019 to 2025 with potential
       1   for faster growth as market awareness increases
           and IPPNs become more well-known.

           Many companies don‟t realize websites display
           different information based on person and/or
       2   location targeting. Without an IPPN solution,
           companies may not be collecting accurate data.

           Researching IPPN vendors show many similar
           solutions and make it difficult to differentiate
       3   among them without actual usage. Documentation
           helps educate potential customers to use cases.

           Market leader Luminati suing Oxylabs and
           GeoSurf over intellectual property infringement
       4   indicates to customers their expertise and first-
           mover advantage in developing the IPPN market.

           Luminati‟s technical capability, leads in number of
           residential IP addresses and countries served,
       5   and existing market leadership make it difficult to
           unseat over the forecast period.
                                                                                                Source: Frost & Sullivan


IPPN                                                                                                                       8
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                              Market Overview




IPPN                                                                                     9
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  Market Definitions


   •   Frost & Sullivan defines Internet Protocol (IP) proxy network (IPPN) providers as companies that
       offer products that place an extra IP address from a rotating pool of addresses between a customer
       and any website they visit on the public internet. Instead of getting data directly from a website, an
       IPPN customer‟s request first passes through a separate device, a proxy server, before going to and
       receiving a response from the target website.
   •   From the target website‟s perspective, no information about the original machine is sent. Only the
       proxy device‟s IP address gets transmitted. As many websites place limits on the amount of
       information sent to any one IP address, gathering additional, openly available data from any one
       website often involves using proxy servers to make it appear as if the requests come from different
       users, thus requiring the need to a rotating pool of IP addresses to be used by proxy servers.
   •   The rotating pool of IP addresses derive from proxy software installed on residential users computers
       and mobile devices, while data centers use dedicated proxy servers. Based on the IP address it
       receives, a target website can distinguish whether a request comes from a residence, mobile device,
       or data center and display different information accordingly based on location and demographic
       attributes. Companies tailoring information based on such attributes led to competitors needing
       IPPNs to simulate being actual customers.                                                   Source: Frost & Sullivan


IPPN                                                                                                                     10
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  Market Definitions (continued)


   •   Proxy servers are intermediaries between devices requesting information from other servers. While
       proxy servers have many purposes, such as anonymizing identities, filtering information, getting
       around filters, and improving information retrieval performance. Rotating IP proxy servers tend to be
       used by companies to simulate actual customers in different locations and to collect data, also known
       as web scraping. Ever since the commercialization of the web, companies developed increasingly
       better ways to target consumers via advertising and marketing to the point of adjusting pricing on a
       location or even per customer basis.
   •   As companies put more of their product information online, this customer targeting made it very
       difficult for competitors and customers to monitor and/or compare pricing and product availability that
       can vary so much because of targeting. Websites today recognize customers to show different
       advertising, content, and pricing based on location and other identifiable information. Companies
       further evolved to prevent competitors from accessing their data via blocking their company‟s entire
       range of IP addresses. This prevents companies from comparing pricing, security companies from
       conducing audits for or detecting malware on malicious sites, and even website owners themselves
       from verifying their advertising is safe and being delivered properly from their ad vendors.
                                                                                                  Source: Frost & Sullivan


IPPN                                                                                                                    11
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  Market Definitions (continued)


   •   Practically all IP proxy network solution providers highlight their network size by publishing the node
       counts for residential/mobile/data center networks and the number of geographic regions served.
   •   IP proxy networks depend on users to install software on their devices, computers or handsets, to
       become the nodes used in IP proxy networks. This software, often games, uses idle bandwidth and
       computation resources in exchange for a better use experience, such as removing advertising.
   •   It is highly improbable that for any given market participant that all possible devices with IP proxy
       network software are on, idle, and online at any given time to provide bandwidth or computation time,
       so published network sizes are maximum possible values, not generally available values, i.e. devices
       on, idle, and online over a 24 hour period. At any one given time, 5% to 10% of devices are available
       on any given peer-to-peer based IP proxy network. The more static IPs on idle devices, such as PCs
       not being used, the higher the available devices versus mobile devices, which are generally less idle.
   •   To determine a metric more applicable to potential customers, i,e, generally available IP proxy
       network sizes, Frost & Sullivan ran scripts to count available IP addresses for different market
       participants over different 24 hour periods. For each participant we noted: 1) published maximum IP
       proxy network size; and 2) generally available IP proxy network size. The actual network size will
       vary constantly based on devices being on, idle, and online on each network.                Source: Frost & Sullivan


IPPN                                                                                                                     12
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  Market Definitions (continued)


   •   The Total Available Market (TAM) for IPPNs is the sum spent by enterprises on all use cases:
       account management, ad verification, application performance, brand protection, cyber security, data
       collection, fraud protection, price comparison, and talent sourcing. Many of these enterprises are
       unaware that IPPN solutions exist and would be entirely new customers.
   •   The Serviceable Available Market (SAM) for IPPNs is the sum spent by enterprises aware of proxies
       and currently programming their own proxy solutions in-house, primarily using data center IP
       addresses or using 3rd party solutions. Many of these enterprises are unaware of IP proxies using
       mobile or residential IP addresses and would be converts from in-house to 3rd party solutions.
   •   The Serviceable Obtainable Market (SOM) for IPPNs is sum spent by enterprises on existing 3rd
       party IPPN solutions, including residential, mobile, and data center IP proxy networks.
                                                                                                     TAM
       This SOM portion of the market is what IPPN market participants Luminati,
       Oxylabs, GeoSurf, Scrapinghub (Crawlera), LimeProxies, Smartproxy,                            SAM
       Storm Proxies, NetNut, and Microleaves among others,
       sell to enterprise users.                                                                     SOM

                                                                                                   Source: Frost & Sullivan


IPPN                                                                                                                     13
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  Market Overview – Scope and Regions


       Geographic coverage                                                      Global
       Study period                                                           2017–2024
       Base year                                                                 2018
       Forecast period                                                        2019–2024
       Monetary unit                                                          US Dollars
       Conversion rates                                                      €1.00 = $1.20

   Revenue: Market size is in terms of vendor revenue in US dollars. Only product revenue accrued directly
   by the vendor is considered, including any built-in revenue for proxy operations maintenance. Reporting
   and estimates are for calendar years, not fiscal years.
   Regional segmentation is as follows:
   •     North America and Latin America (NALA): Covering the continents of North America and South
         America, also referred to as Latin America.
   •     Europe, Middle East, and Africa (EMEA): Covering Western Europe, Central and Eastern Europe
         (including Russia), the Middle East, and Africa. India is not included in this region, although several
         vendors consider India within their EMEA business division.
   •     Asia-Pacific (APAC): Covering the Asian continent and Southeast Asian nations, including Australia
         and New Zealand.
                                                                                                     Source: Frost & Sullivan


IPPN                                                                                                                       14
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  IPPN Use Cases


   •   Unlike static pages served in the early days of the web, modern websites are able to recognize
       viewers and display content, advertising, and pricing according to demographic and geographic
       information. Websites are also able to block ranges of IP addresses to prevent competitors from
       comparing prices or conducting security audits and advertising checks. For these reasons, IP proxy
       networks are used for the following use cases, information publicly available to average consumers:
       •   Price comparison – comparing prices from different user perspectives, often for travel and niche products.
       •   Ad verification – ensuring website ads are properly targeted to their intended audience, that ad links function
           properly, and that the ad environment is security and/or regulatory compliant.
       •   Data collection – gathering data from websites to generate new data sets for internal use or sale.
       •   Fraud protection – identifying and/or detecting known proxies to prevent nefarious proxy use against companies.
       •   Application performance – testing web application loading and responsiveness across regions.
       •   Brand protection – preventing IP theft by disguising corporate networks when doing competitive analysis.
       •   Talent sourcing – researching job market needs and staffing requirements.
       •   Cyber security – adding an extra layer of protection between the Internet and corporate networks.
       •   Account management – creating and modifying accounts across social media and account-based websites.

   •   These use cases can distributed among residential, mobile, and data center proxy networks,
       depending on the techniques used by the target website to block visitors.                                 Source: Frost & Sullivan


IPPN                                                                                                                                   15
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  Key Questions This Study Will Answer


       IPPN      Is the market growing? How long will it continue to grow, and at what rate?



       IPPN      What factors will drive market growth? What challenges will deter growth?


                 Are existing competitors correctly structured to meet customer needs?
       IPPN
                 How will this market evolve?


                 What segments are most rapidly adopting these solutions?
       IPPN
                 How will this landscape evolve?


                 How do adoption patterns differ by region?
       IPPN
                 How will the landscape evolve?


                 What technology trends are shaping the marketplace today?
       IPPN
                 What disruptions are on the horizon?
                                                                                                Source: Frost & Sullivan


IPPN                                                                                                                  16
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       Drivers and Restraints – Total IPPN Market




IPPN                                                                                     17
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   Market Drivers

                            Total IPPN Market: Key Market Drivers, Global, 2018–2024
  Drivers                                                      1–2 Years         3–4 Years            5–6 Years

  Companies doing competitive analysis need to view
  websites as customers from different regions due to              H                 H                      H
  increased profiling and blocking from target websites.
   Gathering data programmatically from websites, such
   as email addresses, real estate listings, and sports            M                M                       M
   information, for analysis or for sale.
   Growing concern over nefarious advertising practices
   and fraud detection lead to greater need for ad                 M                M                       M
   verification.
   Increasing awareness of IPPN use cases will grow the
   total market as potential customers look for solutions
                                                                   M                M                       M
   for brand protection, cyber security, etc. at potentially
   lower cost than in-house solutions.
   Social media account creation and maintenance need
   more automated tools as they provide increasingly
                                                                   M                M                       L
   desired direct communication between public figures,
   products, and events and their followers.
   News of and competition from region-specific products,
   such as smartphones, and increasing globalization
                                                                   M                M                       L
   increase the need for location-based customer
   simulated competitive analysis.
   Impact ratings: H = High, M = Medium, L = Low                                                     Source: Frost & Sullivan


IPPN                                                                                                                       18
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  Drivers Explained

   Companies doing competitive analysis need to view websites as customers from
   different regions due to increased profiling and blocking from target websites.
   •   The primary motivation for IP proxy networks is companies needing to see competitor
       websites as a typical customer sees them. Companies target consumers via advertising
       and marketing to the point of adjusting pricing on a location or even per customer basis.
       This customer targeting makes it difficult for competitors to monitor and/or compare
       pricing and product availability without using IPPNs. Companies also increasingly block
       access to their websites from known ranges of their competitor IP addresses, making it
       difficult to do online competitive analysis without some form of proxy server.
   Gathering data programmatically from websites, such as email addresses, real
   estate listings, and sports information, for analysis or for sale.
   •   The proliferation of available data on the Internet has led to automated gathering of
       information from websites, often called web scraping, indexing, crawling, or spidering.
       These automated scripts, or “bots,” generate just over 40% of Internet traffic in 2018
       according to Distil Networks and this percentage is growing. Such scripts can be used to
       build new databases for analysis or to create new information services for sale. This
       type of automated data collection is how much of the Internet functions, from indexing
       websites for search engines to generating lists of available movie times to gathering
       weather forecast data.
                                                                                                 Source: Frost & Sullivan


IPPN                                                                                                                   19
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  Drivers Explained (continued)

   Growing concern over nefarious advertising practices and fraud detection lead to
   greater need for ad verification.
   •   The billions of dollars generated by Internet marketing coupled with the automated
       nature of digital advertising leads to significant potential for advertising fraud. Malware
       infected browsers can give the false impression of web traffic and divert advertisements
       from ad servers. Plus, such mis-targeted advertising can cause brand harm if ads are
       not consistent with a company‟s message or values. By simulating residential or mobile
       IP addresses, IPPNs enable companies to see how advertisements appear to actual
       customers in different regions, verifying the appropriate, brand-confirmed ads, ads are
       being displayed.
   Social media account creation and maintenance need more automated tools as they
   provide increasingly desired direct communication between public figures,
   products, and events and their followers.
   •   The increasing use of social media for person, product, and/or event promotion
       demands more tools to automate account management (creation and maintenance) in
       all the regions they are needed. This allows companies to maintain a global presence
       from centralized locations. Note: there is potential to use IPPNs to create artificial social
       media accounts, but IPPN vendors with strong know-your-customer guidelines and strict
       logging procedures limit this tactic.
                                                                                                 Source: Frost & Sullivan


IPPN                                                                                                                   20
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  Drivers Explained (continued)

   News of and competition from region-specific products, such as smartphones, and
   growing globalization, increase the need for location-based customer simulated
   competitive analysis.
   •   Companies previously only had to deal with products in their home markets, however
       increasing global product news and awareness require companies perform competitive
       analysis across multiple regions. Better customer profiling and more customized
       manufacturing has lead to more targeted products being marketed to consumers.
       Discussion of such products across social media and online forums creates greater
       demand for companies to track all these niche products.
   Increasing awareness of IPPN use cases will grow the total market as potential
   customers look for solutions for brand protection, cyber security, etc. at potentially
   lower cost than in-house solutions.
   •   Nascent markets grow as public awareness grows via advertising, news, social media,
       word of mouth, etc. As the IPPN market is only a few years old, smaller use cases will
       gradually expand the market as more customers share their stories, publish case
       studies, and demonstrate the usefulness to other customers. Though many customers
       choose to remain anonymous, sharing the process of how each use case improved their
       business helps grow the market. IPPN vendor marketing, technical support, and
       potentially lower costs also encourages companies to migrate in-house IPPN tools to
       dedicated IPPN solutions or start with dedicated tools in the first place.   Source: Frost & Sullivan


IPPN                                                                                                       21
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   Market Restraints

                         Total IPPN Market: Key Market Restraints, Global, 2018–2024

  Restraints                                                   1–2 Years        3–4 Years            5-6 Years

   User concerns over installing any software that uses idle
   bandwidth and computing resources limit residential IP          H               M                       M
   network growth, despite user experience improvements.
   Price comparison sites and product shopping tools limit
   smaller IPPN use cases, while enterprises who want to           H                H                      L
   control their technology develop home grown IPPNs.

   Companies use artificial intelligence and/or machine
                                                                   M               M                       M
   learning to detect and block IP proxy network software.

   Spurred by data breaches, privacy concerns, and social
   media regulations, countries enacted laws to limit              M               M                       L
   companies posing as customers via IPPNs.
   Difficulty in differentiating IPPN vendors and separating
   fact from fiction in reviews and online discussions, plus       M               M                       L
   pending legal battles concern potential customers.
   Limited awareness of IPPN use cases hinders overall
                                                                   M                L                      L
   market growth.



   Impact ratings: H = High, M = Medium, L = Low                                                    Source: Frost & Sullivan


IPPN                                                                                                                      22
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  Restraints Explained

   User concerns over installing any software from less well-known sources or that
   uses idle bandwidth and computing resources, despite improving user experience.
   •   Consumers increasingly receive news of data breaches and privacy mishandlings
       leading to caution over installing any software from less well-known sources. By using
       software development kits (SDKs), IPPNs allow potentially any application to supply
       bandwidth and computation time in exchange for a better user experience, such as
       removing advertising. While consumers generally opt-in to using applications with IPPN
       SDKs and use the software more, installing less software overall diminishes the
       available pool of IP addresses gained by these installations, potentially making IPPNs
       less effective over time.
   Price comparison sites and product shopping tools limit smaller IPPN use cases,
   while enterprises who want to control their technology develop home grown IPPNs.
   •   Dedicated price comparison tools can be sufficient for smaller businesses and product
       shopping tools like specialized shoe shopping apps limit the need for some niche price
       comparisons. While these tools also use IPPNs, they limit sales to potential customers
       who might otherwise purchase dedicated IPPNs services. Though most companies
       prefer IPPN vendor expertise, some business wanting to control their information flow
       can deploy their own proxy networks to avoid using 3rd parties. Not all companies
       require millions of rotating IP addresses, just enough IP addresses to accomplish their
                                                                                     Source: Frost & Sullivan
       competitive analysis tasks.
IPPN                                                                                                        23
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  Restraints Explained (continued)

   Companies use artificial intelligence and/or machine learning to detect and block IP
   proxy network software.
   •   Much like the “cat and mouse” process of better user targeting that generated the need
       for IPPNs, companies have a vested interest in preventing competitive analysis to
       maintain their perceived advantages. Between artificial intelligence techniques and/or
       machine learning, companies are researching ways to detect and prevent IPPN usage,
       with or without regulations being put in place to identify web traffic routed through them.
       Even without known proxy IP lists, similar to known virtual private network IP lists,
       companies are investigating ways of blocking IPPNs, which diminishes their usefulness.
   Spurred by data breaches, privacy concerns, and social media regulations, countries
   enacted laws to limit companies posing as customers via IPPNs.
   •   While it is nearly impossible to ban or block the exit nodes of IP proxy networks,
       governments could ban the practice of using IPPNs for intended use cases, similar to
       how Russia ordered virtual private networks (VPNs) to block access to sites in its
       centralized database, the European Union enacted privacy laws, or how Facebook is
       requesting social media regulation. As legitimate IPPNs keep log files, there is less
       incentive to use them for nefarious purposes, and those IPPNs using strict know your
       customer (KYC) practices can minimize unintended use and help prevent the need for
       such regulations.
                                                                                                 Source: Frost & Sullivan


IPPN                                                                                                                   24
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  Restraints Explained (continued)

   Difficulty in differentiating IPPN vendors and separating fact from fiction in reviews
   and online discussions, plus pending legal battles concern potential customers.
   •   Researching the IPPN market for a preferred vendor yields an assortment of reviews,
       comparisons, blog posts, online discussions, and news, not all of which are from well-
       known sources or verifiable journalists. Each vendor claims thousands to millions of
       rotating IP addresses, assorted price points, and available locations. Until the market
       matures with greater coverage by computer industry publications, potential customers
       find it difficult to choose between vendors. Larger vendors with extensive education
       materials and documentation help offset this situation. Pending legal battles protecting
       intellectual property are important to IPPN market development and may influence some
       customers toward particular vendors.
   Limited awareness of IPPN use cases hinders overall market growth.
   •   While many companies understand the problem of doing competitive analysis, data
       collection, and other IPPN use cases, widespread awareness of IPPNs is still lacking.
       Proxy networks are well understood and virtual private networks are gaining in
       popularity, but IPPNs are still in the early adopter phase among companies who stand
       to benefit from them. This restraint accounts for not all IPPN vendors having the
       marketing budgets to promote themselves, through the total market should be helped by
       larger vendor advertising. This restraint counterbalances the increasing awareness
                                                                                      Source: Frost & Sullivan
       driver.
IPPN                                                                                                         25
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       Forecasts and Trends – Total IPPN Market




IPPN                                                                                     26
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                                                    1805
  Forecast Assumptions


   This study derives the size of the global IPPN market bottom-up from vendor revenues, including any
   built-in revenue for proxy operations maintenance. Projections consider weighted averages of the
   impacts of drivers and restraints detailed in the previous section and assume that they will remain as
   forecast. The following factors impact forecast numbers:

       o Currency: This research service reports market size in US dollars. Actual market revenue will vary
         with the relative value of the US dollar.

       o Economy: Forecasts assume a stable, slowly expanding global economy.

       o Consumer confidence: Forecasts assume consumer confidence will remain relatively stable.

       o Disruptive innovation: Forecasts assume gradual, incremental improvements across vendors.
         Any IPPN vendor introducing a disruptive innovation could trigger unforeseen changes in sales,
         revenues, and market shares.

       o Exclusions: These numbers do not include revenue from home-grown IP proxy network solutions.



                                                                                                   Source: Frost & Sullivan


IPPN                                                                                                                      27
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                                                                       1806
  Global IPPN Revenue Forecast

     Key Takeaway: Global revenue growth rate increases as companies target consumers more
   accurately and attempt to prevent competitors from accessing their information as consumers.
  Growing awareness of the IPPN market encourages companies to migrate from in-house solutions.

                                            Total RPN Market: Revenue Forecast, Global, 2018–2025
                                                          CAGR, 2019–2025 = 16.8%
                                 300.0                                                                                                          40.0

                                                                                                                                                35.0
                                 250.0
                                                                                                                                                30.0
       Revenue ($ Million)




                                                                                                                                                       Growth Rate (%)
                                 200.0
                                                                                                                                                25.0

                                 150.0                                                                                                          20.0

                                                                                                                                                15.0
                                 100.0
                                                                                                                                                10.0
                                  50.0
                                                                                                                                                5.0

                                    0.0                                                                                                         0.0
                                           2018     2019     2020      2021           2022         2023           2024            2025
                             Revenue       76.3     102.5    128.7     154.9          181.1        207.3          233.5           259.7
                             Growth Rate             34.3    25.6      20.4           16.9         14.5           12.6            11.2
                                                                               Year
                                                                                  Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                     28
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                                                      1807
  Global Revenue Forecast Discussion


   •   The global IPPN market grossed $76.3 million in 2018. Frost & Sullivan expects it to grow at a CAGR
       of 16.8% to $259.7 million by 2025.

   •   The market is led by NALA in the base year, followed closely by EMEA, which will be surpassed by
       APAC by the end of the forecast. The expected large-scale infrastructure spending will make APAC
       the fastest-growing region. Regional growth rates and nuances are discussed in the following
       sections.

   •   Market growth can also be attributed to the rising uptake of ad verification, brand protection, price
       comparison, fraud protection, data collection, cyber security, and application performance needs
       globally.

   •   About 70% of the market revenue is expected to come from recurring business and 30% from new
       customers.

   •   The flexibility offered by residential and mobile IPPNs versus data center IPPNs is an important
       growth driver. Companies needing both use cases are increasing, and cloud-based solutions enable
       easy stakeholder collaboration and faster project turnaround.
                                                                                                     Source: Frost & Sullivan


IPPN                                                                                                                        29
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                                                             1808
  Regional Technology Adoption Cycle

                            Total IPPN Market: Regional Technology Adoption Cycle, Global, 2018
   Market Value




                                                Western Europe
                                             North America
                                   Japan, South Korea
                                             Australia

                                 Middle East
                             China and India
                                      Asia

                     Central &
                  Eastern Europe        Latin America
                   Africa                                                                                           Time
                        Development                      Growth                Maturity                     Decline
                                                                                                            Source: Frost & Sullivan


IPPN                                                                                                                               30
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  Percent Revenue Forecast by Region

   Key Takeaway: In 2018, the EMEA region had the largest revenue share, followed closely by NALA.
         By 2025, NALA and APAC will increase their market shares at the expense of EMEA.


                               Total RPN Market: Percent Revenue Forecast by Region, Global, 2018 and
                                                               2025
                      100.0%
                       90.0%
                       80.0%
                       70.0%
       Revenue (%)




                       60.0%
                       50.0%
                       40.0%
                       30.0%
                       20.0%
                       10.0%
                       0.0%
                                                    2018                                                     2025
                     APAC (%)                      25.1%                                                    27.7%
                     EMEA (%)                      39.5%                                                    34.4%
                     NALA (%)                      35.4%                                                    37.9%
                                                                           Year
                                                                            Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                    31
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                                                  1810
  IPPN Revenue Forecast by Region

   Key Takeaway: In 2018, the EMEA region had the largest revenue share, followed closely by NALA.
         By 2025, NALA and APAC will increase their market shares at the expense of EMEA.

                    Total IPPN Market: Revenue Forecast by Region, Global, 2018–2025

             Year               NALA ($ Million)          EMEA ($ Million)                        APAC ($ Million)

             2018                      27.0                        30.1                                     19.1

             2019                      36.8                        39.9                                     25.7

             2020                      46.9                        49.4                                     32.5

             2021                      57.2                        58.4                                     39.3

             2022                      67.5                        67.0                                     46.5

             2023                      77.9                        75.1                                     54.3

             2024                      88.1                        82.6                                     62.7

             2025                      98.3                        89.4                                     72.0

            CAGR                      17.8%                       14.4%                                    18.7%

                                                           Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                   32
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                                                   1811
  Regional Revenue Forecast Discussion


   •   The market for IPPN solutions grossed revenues of $27.0 million in NALA, $30.1 million in EMEA,
       and $19.1 million in APAC in 2018.

   •   The IPPN market in NALA is expected to grow at a CAGR of 17.8% to $98.3 million by 2025, going
       from a 35.4% revenue market share to 37.9%. Frost & Sullivan expects North America, particularly
       the United States, to undertake more IPPN projects over the forecast period.

   •   The IPPN market in EMEA is expected to grow at a CAGR of 14.4% to $89.4 million by 2025; while
       the region is still growing, its revenue share over 2018-2025 will decrease from 39.5% to 34.4% as
       NALA and APAC grow faster. Regional uncertainty over the consequences of Brexit hamper growth
       of major expenditures which spur the sales of IPPN solutions.

   •   The IPPN market in APAC is expected to grow at a CAGR of 18.7% to $72.0 million by 2025,
       increasing its revenue share from 25.1% to 27.7%. Expected IPPN spending will make APAC the
       fastest-growing region as demographic trends and higher economic growth rates along with more
       repressive Internet policies encourage additional spending.


                                                                                                  Source: Frost & Sullivan


IPPN                                                                                                                     33
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  Percent Revenue Forecast by Use Case

  Key Takeaway: Price comparison and ad verification are the primary use cases for IPPNs along with
     data collection showing growth over the forecast, while other use cases remain flat or shrink.

                         Total RPN Market: Percent Revenue Forecast by Use Case,
                                           Global, 2018 and 2025                                                     Actual Revenues (M)                       2018      2025
                                      100%
                                       90%                                                                           Ad Verification                            13.0     39.9
                                       80%
       Revenue (%)




                                       70%                                                                           Brand Protection                            6.1     10.0
                                       60%
                                       50%
                                       40%                                                                           Data Collection                             9.2     29.9
                                       30%
                                       20%                                                                           Fraud Protection                            9.2     16.0
                                       10%
                                        0%
                                                             2018                              2025                  Application Performance                     6.1     16.0
                     Account Management                      12%                                8%
                     Ad Verification                         17%                               20%                   Price Comparison                           18.3     55.9
                     Application Performance                  8%                                8%
                     Brand Protection                         8%                                5%                   Cyber Security                              2.3       6.0
                     Cyber Security                           3%                                3%
                     Data Collection                         12%                               15%                   Account Management                          9.2     16.0
                     Fraud Protection                        12%                                8%
                     Price Comparison                        24%                               28%                   Talent Sourcing                             3.1       8.0
                     Talent Sourcing                          4%                                4%
                     Others                                   0%                                1%                   Others                                      0.0       2.0
                                                                              Year
                         Others includes currently unanticipated use cases as IPPN awareness grows. Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                             34
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                  Forecasts and Trends – NALA




IPPN                                                                                     35
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  NALA Revenue Forecast

                              Key Takeaway: The NALA market will grow at a CAGR of 17.8% over the forecast period.
                             Revenue will double over the forecast as customer realize the benefits of and adopt IPPNs.

                                                    RPN Market: Revenue Forecast, NALA, 2018–2025
                                                         Revenue CAGR, 2019–2025 = 17.8%
                                 120.0                                                                                                                40.0

                                                                                                                                                      35.0
                                 100.0
                                                                                                                                                      30.0
       Revenue ($ Million)




                                                                                                                                                              Growth Rae (%)
                                  80.0
                                                                                                                                                      25.0

                                  60.0                                                                                                                20.0

                                                                                                                                                      15.0
                                  40.0
                                                                                                                                                      10.0
                                  20.0
                                                                                                                                                      5.0

                                   0.0                                                                                                                0.0
                                             2018      2019      2020      2021          2022            2023            2024            2025
                               Revenues      27.0      36.8      46.9      57.2          67.5            77.9            88.1            98.3
                               Growth                  36.1      27.4      21.9          18.1            15.4            13.0            11.6
                                                                                  Year
                                                                                         Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                           36
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  NALA Revenue Forecast Discussion


   •   At $27.0 million in 2018, revenue for the NALA market for IPPN solutions was just behind EMEA and
       well ahead of APAC. Frost & Sullivan expects NALA revenue to reach $98.3 million by 2025, at a
       CAGR of 17.8%.

   •   North America witnessed healthy growth over the past year thanks to increasing competitive analysis
       in the United States causing companies to further lock down their information from competitors. This
       growth is mostly due to the region‟s first mover advantage in IPPN adoption and the acceleration of
       use case trends leading to a proliferation of services.

   •   Brazil has traditionally led Latin America in terms of IPPN spending; however, poor economic
       conditions affected the region in 2018 and several vendors saw a decline in their revenue from Brazil.

   •   Additional IPPN services coming to market a far-reaching positive effect on the IPPN vendors in
       NALA. Competition has helped constrain the costs of some services, but the growing need from
       enterprise customers is leading to more attention being placed on IPPN services.

   •   Consolidation is inevitable in the IPPN market. These mergers and acquisitions have the potential to
       create a larger competitor to market leader Luminati, primarily by combining support organizations.
                                                                                                   Source: Frost & Sullivan


IPPN                                                                                                                      37
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                  Forecasts and Trends – EMEA




IPPN                                                                                     38
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                                                                          1817
  EMEA Revenue Forecast

         Key Takeaway: EMEA makes up over one third of the global IPPN market in 2018. Growth from
         Western Europe is countered by countries in the Middle East and Central and Eastern Europe.

                                                  RPN Market: Revenue Forecast, EMEA, 2018–2025
                                                       Revenue CAGR, 2019–2025 = 14.4%
                               100.0                                                                                                                35.0
                                90.0
                                                                                                                                                    30.0
                                80.0
       Revenue ($ Million)




                                70.0                                                                                                                25.0




                                                                                                                                                            Growth Rae (%)
                                60.0
                                                                                                                                                    20.0
                                50.0
                                                                                                                                                    15.0
                                40.0
                                30.0                                                                                                                10.0
                                20.0
                                                                                                                                                    5.0
                                10.0
                                 0.0                                                                                                                0.0
                                           2018      2019      2020      2021          2022            2023            2024            2025
                             Revenues      30.1      39.9      49.4      58.4          67.0            75.1            82.6            89.4
                             Growth                  32.5      23.7      18.2          14.7            12.2            10.0             8.2
                                                                                Year
                                                                                       Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                         39
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                                                    1818
  EMEA Revenue Forecast Discussion


   •   EMEA contributed $30.1 million in sales, or 39.5% of the global market revenue in 2018, just ahead
       of NALA and well ahead of APAC.

   •   Many IPPN vendors grew out of Europe, and so have their strongest footprint in the EMEA region.

   •   Strong demand for IPPN solutions continues from the Middle East, driven by investment in Internet
       infrastructure. Since internet costs in the Middle East are among the highest in the world, the region‟s
       overall growth has been limited by these costs.

   •   EMEA is expected to show modest growth with a CAGR of 14.4%. Economic uncertainty in Europe;
       geopolitical instability in the Middle East, Russia, and parts of Africa; and the fact that spending on
       internet infrastructure projects is not expected to reach pre-recession levels until the end of the
       decade will only mean slow growth through 2025.




                                                                                                   Source: Frost & Sullivan


IPPN                                                                                                                      40
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                  Forecasts and Trends – APAC




IPPN                                                                                     41
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                                                                          1820
  APAC Revenue Forecast

                                            Key Takeaway: At a CAGR of 18.7%, APAC follows NALA as the
                                          fastest growing region for IPPN revenues over the forecast period.

                                                  RPN Market: Revenue Forecast, APAC, 2018–2025
                                                       Revenue CAGR, 2019–2025 = 18.7%
                                80.0                                                                                                                40.0

                                70.0                                                                                                                35.0

                                60.0                                                                                                                30.0
       Revenue ($ Million)




                                                                                                                                                            Growth Rate (%)
                                50.0                                                                                                                25.0

                                40.0                                                                                                                20.0

                                30.0                                                                                                                15.0

                                20.0                                                                                                                10.0

                                10.0                                                                                                                5.0

                                 0.0                                                                                                                0.0
                                           2018      2019      2020      2021          2022            2023            2024            2025
                             Revenues      19.1      25.7      32.5      39.3          46.5            54.3            62.7            72.0
                             Growth                  34.5      26.3      21.1          18.3            16.6            15.6            14.7
                                                                                Year
                                                                                       Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                                          42
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                                                   1821
  APAC Revenue Forecast Discussion


   •   At $19.1 million in 2018, APAC was the smallest regional market for IPPN solutions by revenue.
       Market revenue is expected to increase to $72.0 million by 2025 at a CAGR of 18.7%.

   •   Among all regions, APAC is the most price-sensitive market for technology solutions in general. The
       tendency for firms to build home grown solutions or employ system integrators to make customized
       solutions is the highest here, though regulations in most countries in the region drive demand more
       than other regions.

   •   As emerging economies continue to urbanize, build out infrastructure, and grow their industries, it
       will become imperative for companies in this region to follow global standards and best practices
       and to implement checks and balances, in order to gain confidence in the global market. Because
       IPPN solutions will be looked upon as a cost of doing business, price sensitivity is expected to
       wane.

   •   Some vendors consider Australia a growing market, although some have been affected by the
       downturn in the region‟s economy.


                                                                                                  Source: Frost & Sullivan


IPPN                                                                                                                     43
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        Market Share and Competitive Analysis –
                       Verticals




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  IPPN Competitive Landscape – Vertical Market Share

   Key Takeaway: The split between residential, mobile, and data center IPPN verticals is dominated
    by residential at over 73%, followed by data centers at almost 20%, with mobile at 7% in 2018.
        Choice of vertical depends on the techniques used by target websites to block visitors

                                           Total IPPN Market:
                                     Vertical Analysis, Global, 2018




                                           Data Center
                                             19.4%

                                  Mobile
                                  7.0%


                                                         Residential
                                                           73.6%




                                                           Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                   45
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                                                    1824
  Verticals Discussion


   •   IP proxy networks enable companies to simulate being actual customers by having users around the
       world install software and agree to contribute a portion of their devices resources when idle to route
       web traffic through their IP address. This is known as a residential proxy network, one of the three
       verticals used in the market along with mobile and data center IPPNs.

   •   By getting thousands to millions of users to participate in their network, IP proxy network companies
       create a pool of IP addresses to accomplish the aforementioned use cases. Since each node on the
       network is in a different location using a different device, in the case of residential IPPNs websites
       only see traffic as coming from individuals and residential internet service providers (ISPs).

   •   IP proxy network companies can also provide IP addresses coming from data centers instead of
       ISPs. These data center proxies also hide IP addresses and location, and allow for data collection,
       but they are known not to be residential or mobile. While they are generally less expensive than
       residential or mobile proxies, they do not offer the benefits of appearing as actual customers.

   •   As more Internet use goes to mobile devices, IPPNs can also used to simulate traffic coming from
       handsets, however it is more difficult to regulate broadband usage via cellular and WiFi, plus idle
       computing time must be accounted for while on batteries versus charging.                    Source: Frost & Sullivan


IPPN                                                                                                                      46
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        Market Share and Competitive Analysis –
                  Total IPPN Market




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                                                  1826
  IPPN Competitive Landscape – Market Share

       Key Takeaway: Luminati, Oxylabs, and GeoSurf dominated the global IPPN market in 2018,
                         combining to represent 77.0% of the total market.

                                             Total IPPN Market:
                                     Market Share Analysis, Global, 2018
                             Microleaves          Netnut
                                 1.7%             1.3%
               Smartproxy    StormProxies
                                 2.7%                  Others
                 4.0%                                    6.6%
                       LimeProxies
                          1.3%
                        Scrapinghub
                           5.3%


                                      Geosurf                                         Luminati
                                      10.6%                                            53.1%


                                                Oxylabs
                                                13.3%




                                     Others includes companies listed here. Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


IPPN                                                                                                                                                    48
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  IPPN Competitive Environment

                           Total IPPN Market: Competitive Structure, Global, 2018

  Number of Companies in the Market       21+

                                          IP addresses, geographic coverage, locations served, pricing tiers,
  Competitive Factors                     bandwidth provided, high compliance standards, and network (IP)
                                          quality.

                                          Price comparison, ad verification, data collection, fraud protection,
  Key End-user Groups                     application performance, brand protection, talent sourcing, cyber
                                          security, and account management.

  Major Market Participants               Luminati, Oxylabs, GeoSurf

  Market Share of Top 3 Competitors       77.0%

                                          Scrapinghub, LimeProxies, Smartproxy, Storm Proxies, NetNut,
  Other Notable Market Participants
                                          Microleaves

  Distribution Structure                  Direct sales

                                          EMK Capital LLP acquired a majority share in Luminati in 2017.
  Notable Acquisitions, Mergers,          Luminati„s enterprise proxy solutions separated from Hola
  Deals                                   Networks in 2014. Begun in 2018, Luminati is suing Oxylabs and
                                          GeoSurf for patent infringement.

IPPN                                                                                          Source: Frost & Sullivan 49
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  Luminati At A Glance

       Company Name            Luminati
       Location                Netanya, Israel

       Owner                   Private (120+ employees), EMK Capital LLP, United Kingdom

       Platform                Luminati Proxy Service (Residential IPs, Mobile IPs, and Data Center IPs)

       Product Revenue         $40 Million

                               Retail price comparison, ad verification, sales intelligence, brand protection,
       Industries Served
                               self-testing

       Notable Customers       Fortune 500 companies across all verticals

                               Oxylabs, GeoSurf, Scrapinghub, LimeProxies, Smartproxy, Storm Proxies,
       Primary Competitors
                               NetNut, Microleaves

                               35.0M+ published residential IPs / 32.0M+ generally available residential IPs
                               Serves 195 countries, 26,846 cities, 11,748 ASNs, 592 Mobile ASNs.
       Platform Highlights     The only IP proxy network that requires consent from its residential peers and
                               has strict KYC rules. Proxy Manager, Chrome Extension, APIs available in
                               Shell, Node.js, Python, C#, Java, VB, PHP, Ruby, and Perl.
                                                                                                    Source: Frost & Sullivan


IPPN                                                                                                                      50
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  Oxylabs At A Glance

       Company Name            Oxylabs
       Location                Vilnius, Lithuania

       Owner                   Private (11-50 employees), Part of Tesonet

       Platform                Residential IPs, Data Center IPs, Real-Time Crawler

       Product Revenue         $10 Million

                               Market research, brand protection, travel fare aggregation, ad verification,
       Industries Served
                               pricing intelligence

       Notable Customers       700+ customers, Case studies change customer names to provide anonymity.

                               Luminati, GeoSurf, Scrapinghub, LimeProxies, Smartproxy, Storm Proxies,
       Primary Competitors
                               Microleaves, NetNut (Luminati sued Oxylabs in 2018 for patent infringement.)

                               30.0M+ published residential IPs / 24.3M+ generally available residential IPs
                               Serves 195 countries. Two apps using the embedded Oxylabs SDK, Material
       Platform Highlights     Notification Shade and Power Shade, were taken down from Google Play
                               Store when the SDK was marked as malicious by Google. The apps were
                               reinstated a day later without the Oxylabs SDK.
                                                                                                    Source: Frost & Sullivan


IPPN                                                                                                                      51
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                                                     1830
  GeoSurf At A Glance

       Company Name            GeoSurf
       Location                Tel Aviv, Israel, Development in Romania and Ukraine.

       Owner                   Private (11-50 employees), part of BIScience

       Platform                Residential IPs, Data Center IPs

       Product Revenue         $8 Million
                               Ad verification, social listening, search engine optimization, sales intelligence,
       Industries Served
                               sneaker proxy

       Notable Customers       7,000+ Professional Marketers, Ubisoft

                               Luminati, Oxylabs, Scrapinghub, LimeProxies, Smartproxy, Storm Proxies,
       Primary Competitors
                               Microleaves, NetNut (Luminati sued GeoSurf in 2018 for patent infringement.)
                               2.0M+ published residential IPs / 1.4M+ generally available residential IPs
       Platform Highlights     Serves 130+ global locations. Good blog and resources explanation for
                               prospective customers.



                                                                                                    Source: Frost & Sullivan


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  Scrapinghub At A Glance

       Company Name            Scrapinghub
       Location                Ballincollig, Cork, Ireland

       Owner                   Private (51-200 employees)

       Platform                Crawlera, “The World‟s Smartest Proxy Network”

       Product Revenue         $4 Million

       Industries Served       Focuses on data scraping, not individual use cases, like price comparison.
                               2000+ Companies as customers, Used by over 1M+ developers
       Notable Customers
                               Data scraping customers: Amazon, Deloitte, HubSpot, Logitech, Walmart
                               Luminati, Oxylabs, GeoSurf, LimeProxies, Smartproxy, Storm Proxies,
       Primary Competitors
                               Microleaves, NetNut
                               No published residential IP network size
                               Almost hides proxy network to focus on data scraping. Open Sources much of
       Platform Highlights
                               their code, giving clients peace of mind. APIs available in Python, Node.js,
                               Scrapy, C#, Java, PHP, Ruby


                                                                                                    Source: Frost & Sullivan


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  Smartproxy At A Glance

       Company Name            Smartproxy
       Location                Unknown

       Owner                   Unknown

       Platform                Oxylabs Reseller

       Product Revenue         $3 Million
                               Account management, product releases, market research…also markets
       Industries Served       specific proxies for Instagram, Sneakers, Twitter, Craigslist, Facebook, Reddit,
                               and for backconnects
                               Only lists anonymized residential customers, i.e. last name redacted. Any
       Notable Customers
                               corporate customers kept anonymous.
                               Luminati, Oxylabs, GeoSurf, Scrapinghub, LimeProxies, Storm Proxies,
       Primary Competitors
                               Microleaves, NetNut
                               10.0M+ published residential IPs / 7.4M+ generally available residential IPs
                               90%+ of available IP addresses appear to be resold Oxylabs nodes. Serves
                               190+ geographic locations. Very sneaker-focused and very use case-focus
       Platform Highlights
                               versus vertical-focus, e.g. Get Instagram proxies versus Get Social Media
                               proxies. Blog has good use case explanations of how their Smartproxy solves
                               improves that specific use case.
                                                                                                    Source: Frost & Sullivan


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  LimeProxies At A Glance

       Company Name            LimeProxies
       Location                Hong Kong

       Owner                   Private (11-50 employees)

       Platform                High speed, premium proxies

       Product Revenue         $1 million
                               Gaming proxies, ticketing proxies, Socks5 proxies, classified ads, custom
       Industries Served
                               solutions.

       Notable Customers       Anonymous. No real case studies from current customers.

                               Luminati, Oxylabs, GeoSurf, Scrapinghub, Smartproxy, Storm Proxies,
       Primary Competitors
                               Microleaves, NetNut
                               No published residential IP network size
                               Serves 40+ geographic locations, makes a point of not being a subsidiary or
       Platform Highlights
                               reseller of larger, parent company. Lot of bad chatter on forums about
                               customer service and affiliate programs recommending against LimeProxies.



                                                                                                    Source: Frost & Sullivan


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  Storm Proxies At A Glance

       Company Name            Storm Proxies
       Location                Unknown

       Owner                   Unknown

       Platform                Backconnect Rotating Proxies

       Product Revenue         $2 Million
                               Web scraping, traffic bots, bulk account registrations, search engine
       Industries Served
                               optimization tools, ticket sites, sneaker sites

       Notable Customers       Anonymous. No real case studies from current customers.

                               Luminati, Oxylabs, GeoSurf, Scrapinghub, LimeProxies, Smartproxy,
       Primary Competitors
                               Microleaves, NetNut
                               40,000 published residential IPs / Proxies rotated every 5 minutes.
                               Dedicated proxy verticals, much like Smartproxy, i.e. Ticketmaster, Instagram,
       Platform Highlights
                               Facebook, Twitter, Tumblr, Pinterest, Linkedin, Snapchat, Pokemon Go
                               proxies


                                                                                                    Source: Frost & Sullivan


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  NetNut At A Glance

       Company Name            NetNut
       Location                Tel Aviv, Israel

       Owner                   Private, part of Safe-T Group Ltd. as of mid-2019

       Platform                NetNut SuperProxy

       Product Revenue         $2 Million

       Industries Served       Price comparisons, web scraping

       Notable Customers       Anonymous. No real case studies from current customers.

                               Luminati, Oxylabs, GeoSurf, Scrapinghub, LimeProxies, Smartproxy, Storm
       Primary Competitors
                               Proxies, Microleaves
                               10.0M+ published residential IPs / 7.4M+ generally available residential IPs
                               Serves approximately 50 countries. NetNut uses ISP IPs directly. Traffic does
                               not go through end-user devices. Instead of using a peer to peer (P2P)
       Platform Highlights     network, NetNut depends on DiViNetworks‟ existing data delivery and network
                               management solutions. DiViNetworks provides services to over 100 ISPs from
                               tens of point of presence (PoPs) around the world. Safe-T Group Ltd. acquired
                               NetNut in mid-2019 to augment their software-defined access technology.
                                                                                                    Source: Frost & Sullivan


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  Microleaves At A Glance

       Company Name            Microleaves
       Location                London, UK

       Owner                   Unknown (19 employees)

       Platform                Adware

       Product Revenue         $1.3 Million

       Industries Served       Web scraping, ticket sites, sneaker sites

       Notable Customers       19k Active Customers, 60+ New Customers Daily, Fortune 500 Companies
                               Luminati, Oxylabs, GeoSurf, Scrapinghub, LimeProxies, Smartproxy, Storm
       Primary Competitors
                               Proxies, NetNut
                               Microleaves proxy client software has been identified as an adware program
                               by various malware and virus tools. While its stated use is as an IP proxy
                               network, it appears to be serving unwanted advertisements across visited
                               webpages. Though Microleaves claims to have the lowest fail rate, instant
       Platform Highlights
                               scaling, user-friendly integration, no limit on concurrent connections, 26M+
                               residential IPs, 5M+ mobile IPs, and 500K+ data center IPs, testing was not
                               performed to determine generally available IPs because of security concerns
                               over its proxy client software used to generate their network.
                                                                                                    Source: Frost & Sullivan


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  IPPN Competitive Landscape

                                           Key Takeaway: Luminati, Oxylabs, and GeoSurf dominated the global IPPN market in 2018.

                                                                Total IPPN Market: Competitive Landscape, Global, 2018
       Product Line and Competitive Strategy




                                                                                                                                                       Luminati

                                                                                                                                 Oxylabs

                                                                                                                              Geosurf

                                                                                                                          Scrapinghub

                                                                                            Microleaves
                                                                                                                 Smartproxy
                                                                                         Netnut
                                                                                                                                        StormProxies
                                                                                                   LimeProxies


                                                                                Others




                                                                                            Market Penetration

                                                 Niche            Participant                      Contender                            Challenger                    Leader
                                                                                                                                                                  Source: Frost & Sullivan


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  IPPN Competitive Landscape – Factors and Assessment


   The IPPN competitive landscape represents the relative positioning of vendors in terms of their current
   market share and their strategic positioning for growth according to the following factors:

   •   Current market share by percentage of revenue: The X axis represents a vendor‟s market
       position; the size of the company‟s circle represents its base year revenues.

   •   Relative strategic excellence: The Y axis depicts a vendor‟s strategy score, particularly how likely it
       is to outperform the market and win market share from its nearest competitors. Factors include:

       o   Current functionality and ongoing R&D investment: Feature-rich IPPN solutions with a strong,
           consistent commitment to R&D score the highest on this vector.

       o   Scalability: The ability to manage large volumes of engineering assets and to work cross-
           regionally and cross-functionally, on both mobile and cloud, determine the scalability score.

       o   Flexibility: Integrating or working alongside legacy solutions and other enterprise software.

       o   Vertical and geographic footprint: Working across industries and various countries.

       o   Merger and acquisition, partnership, and standardization strategy: Buying and/or partnering
           with other vendors, coupled with organic growth.                                         Source: Frost & Sullivan


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  IPPN Competitive Landscape – Market Leader Luminati


   •   Luminati is the only proxy network that requires consent from its peer network, has tight compliance
       procedures for its customers, and serves Fortune 500 enterprises. With over 35 million residential IP
       addresses, Luminati provides rotating IP proxy access in 195 countries across 26,846 cities, 11,748
       Autonomous System Numbers (ASNs), and 592 mobile ASNs.

   •   Luminati enables enterprise customers to access the internet and view websites as they look to
       actual consumers. As companies block and slow the web to competitors, Luminati‟s proprietary
       network allows companies to access the web as if they were in any city covered by their residential
       IP network.

   •   Luminati serves enterprise clients across many vertical industries to verify ad performance, collect
       data, such as pricing information, conduct cyber security checks, protect their brand, monitor
       application performance, and prevent fraud. Using a residential IP proxy service is the only way
       businesses can check the accuracy of data and pricing matching what customers see in various
       regions around the world.



                                                                                                  Source: Frost & Sullivan


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       Growth Opportunities and Companies to Action




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  Growth Opportunity 1: Expand Consumer Education

                                   Applicable
                                                 Content        Services   Infrastructure   Business            Other
                                   Segments
                                   Applicable     NALA                         EMEA                             APAC
                                   Regions

   Vision Transformation
                                      Context and Opportunity                  Call to Action
   Megatrends Impact
                                     • There are numerous reports of          • Counter media reports of
   Disruptive Applications
                                       suspicious proxy and virtual             potential nefarious use cases.
                                       private network services. While
   Business Models                                                            • Expand awareness of various
                                       many consumers are unaware of
                                                                                use cases to gain prosumer use,
   Current Offerings                   nefarious uses of these services,
                                                                                not just enterprise customers.
                                       the customers knowingly
   New Capabilities                                                             Many customers don‟t know
                                       shopping for them are typically
                                                                                something like the functionality
                                       aware enough to question them.
   Value-add Services                                                           behind IP proxy networks exist,
                                     • Current marketing efforts do not         much less know enough to
   Vertical Markets
                                       sufficiently assuage consumers           research it and shop for one.
                                       that any particular IPPN service
   Geographic Expansion                                                       • While knowledgeable enough
                                       provider is not “shady.”
                                                                                companies will compete on
   Partnerships
                                                                                metrics, there is room to grow
   Investment / M&A                                                             the market to newcomers.
                                                                                                        Source: Frost & Sullivan


IPPN                                                                                                                          63
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  Growth Opportunity 2: Multi-Privacy Solutions

                                   Applicable
                                                 Content        Services   Infrastructure   Business            Other
                                   Segments
                                   Applicable     NALA                         EMEA                             APAC
                                   Regions

   Vision Transformation
                                      Context and Opportunity                  Call to Action
   Megatrends Impact
                                     • Many companies want all-in-one         • Partner with VPN vendors to
   Disruptive Applications
                                       solutions rather than multi-             provide a wider array of privacy
   Business Models                     vendor, best-in-class solutions          and security solutions to
                                       for their privacy, security, and         customers looking to source
   Current Offerings                   competitive analysis needs,              from single vendors.
                                       leaving dedicated IP proxy
   New Capabilities                                                           • Develop complementary VPN
                                       network vendors at a
                                                                                solutions to address the needs of
                                       disadvantage over more
   Value-add Services                                                           customers looking for all-in-one
                                       integrated solution providers.
                                                                                competitive analysis and privacy
   Vertical Markets
                                                                                vendors.
   Geographic Expansion

   Partnerships

   Investment / M&A

                                                                                                        Source: Frost & Sullivan


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  Growth Opportunity 3: Provide White Label IPPNs

                                   Applicable
                                                 Content        Services   Infrastructure   Business            Other
                                   Segments
                                   Applicable     NALA                         EMEA                             APAC
                                   Regions

   Vision Transformation
                                      Context and Opportunity                  Call to Action
   Megatrends Impact
                                     • Many companies are hesitant to         • Provide white label services and
   Disruptive Applications
                                       trust 3rd parties and don‟t need         limited-time access to ranges of
   Business Models                     the largest rotating IP networks         IP addresses to specific
                                       or the widest geographic                 customers who are hesitant to
   Current Offerings                   coverage, just enough to get             trust 3rd party software.
                                       their use cases done.
   New Capabilities                                                           • It is not costly for large enough
                                     • For companies providing                  companies to build their own
   Value-add Services                  different apps, it would be              limited use proxy network, but it
                                       feasible for them to add proxy           is outside most company‟s core
   Vertical Markets
                                       functionality to mimic IP proxy          competencies. Consider
   Geographic Expansion                networks for limited use cases.          licensing the technology to allow
                                                                                companies complete control over
   Partnerships                                                                 their network traffic for piece of
                                                                                mind from outside parties.
   Investment / M&A

                                                                                                        Source: Frost & Sullivan


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  Growth Opportunity 4: Mergers and Acquisitions

                                   Applicable
                                                 Content        Services    Infrastructure   Business           Other
                                   Segments
                                   Applicable     NALA                         EMEA                             APAC
                                   Regions

   Vision Transformation
                                      Context and Opportunity                   Call to Action
   Megatrends Impact
                                     • Despite providing global                • Explore opportunities to acquire
   Disruptive Applications             services, many IPPN vendors               other vendors with
                                       have limited regional footprints          complementary product lines,
   Business Models
                                       for sales, service, and support.          different software expertise,
   Current Offerings                   With a concentration of market            beneficial vertical industry
                                       leadership, smaller companies             presence, or geographically
   New Capabilities                    could decide to merge and/or              desirable sales force and/or
                                       acquire one another to compete            support staff.
   Value-add Services
                                       more effectively.
                                                                               • Consolidate with vendors of
   Vertical Markets                  • Besides immediately bolstering            ancillary products, such as VPN
                                       the size of their proxy IP network        vendors to provide one-stop-
   Geographic Expansion
                                       addresses, this provides                  shop solutions for the wider
   Partnerships                        additional sales and support              industry needs and/or to expand
                                       capabilities in each company‟s            vertical scope and regional
   Investment / M&A                    primary region.                           coverage.
                                                                                                        Source: Frost & Sullivan


IPPN                                                                                                                          66
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  Strategic Imperatives for Success and Growth


                           IPPN providers will grow as companies continue to silo information away from
                           competitors. The need for companies to view information as actual customers
                           and collect data for further analysis drives growth over the forecast period.


                           Growing investment in web-based businesses, tempered somewhat by
                           concern over possible Internet regulations, provides an opportunity for
                           widespread IPPN sales as globalization increased the need for comparisons.

  Critical                 Differentiating between IPPN solutions becomes increasingly necessary to
  Success                  reach customers who could develop a home grown IPPN solution, but be better
  Factors                  served by expert IPPN vendors for cost savings, technology, increased network
                           size, and better geographic coverage.
                           Due to growing awareness of advertising tracking practices, concern over
                           installing software on personal computers and mobile devices limits the
                           potential growth of residential IP networks. Transparency, logging, and strong
                           know your customer policies are key to reassuring customers and users.

                           With the APAC region expected to post the highest growth rate over the
                           forecast period, followed by NALA, IPPN solution providers should target
                           mergers and acquisitions and/or customer support in these regions.

                                                                                               Source: Frost & Sullivan


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                                The Last Word




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  The Last Word – Recommendations


              To grow their business over the next few years, IPPNs need to focus their efforts on
              marketing use cases to potential customers. Rather than tout technical criteria,
       1      highlight customer journeys more to demonstrate effectiveness. Instead of battling it
              out for a finite number of existing customers, IPPN vendors will be better served by
              growing their market organically through educating customers about use cases.


              Increased user demographic and location targeting for advertising and pricing
              encourages companies to do competitive analysis via IPPNs to view websites as
       2      actual customers see them. Gathering data programmatically from websites is as
              much a part of the Internet as search engines are. IPPN vendors are encouraged to
              support any companies or technologies that increase the need for IPPN use cases.


              As the IPPN market grows and eventually consolidates, vendor positioning and
              reputation is critical. Luminati already has sizable leads in technical criteria, though
       3      pricing is considered premium, albeit with better customer support. Transparency,
              strict logging rules, and strong know-your-customer policies help reassure potential
              customers of Luminati‟s well-deserved market leadership position and reputation.


                                                                                             Source: Frost & Sullivan


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                                     Appendix




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   Market Engineering Methodology


   One of Frost & Sullivan‟s core
   deliverables is its Market Engineering
   studies. They are based on our
   proprietary Market Engineering
   Methodology. This approach, developed
   across the 50 years of experience
   assessing global markets, applies
   engineering rigor to the often nebulous
   art of market forecasting and
   interpretation.
   A detailed description of the
   methodology can be found here.




                                                                                                Source: Frost & Sullivan


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   Market Engineering Measurements

                        Total IPPN Market: Market Engineering Measurements, Global, 2018
 Market Overview
  Measurement Name                                                                                       Measurement               Trend

  Market Stage                                                                                                Growth                   -

  Market Revenue (2018)                                                                                      $76.3 M                  ▲

  Market Size for Last Year of Study Period (2025)                                                           $259.7 M                 ▲

  Base Year Market Growth Rate (2018)                                                                          34.3%                  ▼

  Compound Annual Growth Rate (CAGR, 2019 – 2025)                                                              16.8%                   -

  Customer Price Sensitivity (Scale:1 [low] to 10 [high])                                                         8                   ●

  Degree of Technical Change (Scale:1 [low] to 10 [high])                                                         7                   ▲

  Market Concentration (Base Year Market Share Held by Top 3 Companies)                                        77.0%                  ▼




 Decreasing    Stable    Increasing
       ▼         ●          ▲                                    Note: All figures are rounded. The base year is 2018. Source: Frost & Sullivan


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  List of IPPN Market Participants

   Primary                                                 Others
   •   Luminati                                            •    RotatingProxies
   •   Oxylabs                                             •    Local Proxies
   •   GeoSurf                                             •    Smart DNS Proxy
   •   Scrapinghub (Crawlera)                              •    Residential IPs
   •   LimeProxies                                         •    ProxyRain
   •   Smartproxy                                          •    ProxyMesh
   •   Storm Proxies                                       •    ProxyRack
   •   NetNut                                              •    ProxyKey
   •   Microleaves                                         •    Intoli
                                                           •    BlazingProxies
                                                           •    ProxyRotator
                                                           •    GhostProxies
                                                           •    Xverum


                                                                                                  Source: Frost & Sullivan


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